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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                              )
    In re                                                     )     Chapter 11
                                                              )
    TOUGH MUDDER INC., et al.,1                               )     Case No. 20-10036 (CSS)
                                                              )
                            Debtors.                          )     Jointly Administered
                                                              )
                                                              )     RE: D.I. 87
                                                              )

       CERTIFICATE OF NO OBJECTION REGARDING CHAPTER 11 TRUSTEE’S
       MOTION FOR ENTRY OF AN ORDER ESTABLISHING PROCEDURES FOR
        INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
                         RETAINED PROFESSIONALS

                    The undersigned hereby certifies that, as of the date hereof, Morris, Nichols,

Arsht & Tunnell LLP (“Morris Nichols”) has received no answer, objection, or other responsive

pleading to the Chapter 11 Trustee’s Motion for Entry of an Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses for Retained Professionals [D.I. 87] (the

“Motion”), filed on February 28, 2020.

                    The undersigned further certifies that Morris Nichols has caused the review of the

Court’s docket in these cases and that no answer, objection, or other responsive pleading to the

Motion appears thereon. Pursuant to the notice of hearing on the Motion, the deadline to file and

serve objections or responses to the Motion was March 13, 2020, at 4:00 p.m. (EDT).

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1
            The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
            identification number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845).
            The Debtors’ address is 15 MetroTech Center, Brooklyn, NY 12201.
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               WHEREFORE, the Trustee respectfully requests that the order attached to the

Motion be entered at the earliest convenience of the Court.

Dated: March 16, 2020                  MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Wilmington, Delaware
                                       /s/ Brett S. Turlington
                                       Curtis S. Miller (No. 4583)
                                       Joseph C. Barsalona II (No. 6102)
                                       Brett S. Turlington (No. 6705)
                                       1201 N. Market Street, 16th Floor
                                       P.O. Box 1347
                                       Wilmington, Delaware 19899-1347
                                       Telephone: (302) 658-9200
                                       Facsimile: (302) 658-3989
                                       Email: cmiller@mnat.com
                                              jbarsalona@mnat.com
                                              bturlington@mnat.com

                                       Counsel for Derek C. Abbott, Esq., as Chapter 11
                                       Trustee to Tough Mudder Inc. and Tough Mudder Event
                                       Production Inc.




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